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                   UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF GEORGIA



IN RE: TERMINATION OF LEGACY
ANTITRUST JUDGMENTS IN THE              Civil Action No. ____
MIDDLE DISTRICT OF GEORGIA




UNITED STATES OF AMERICA,
     Plaintiff,

                 v.                    Civil Action No. 719

ATLANTIC COMPANY, et al.,
    Defendants.




UNITED STATES OF AMERICA,
     Plaintiff,

                 v.                    Civil Action No. 771

HEYWARD ALLEN MOTOR COMPANY,
INC., et al.,
       Defendants.




UNITED STATES OF AMERICA,
     Plaintiff,

                 v.                    Civil Action No. 777

SOUTHEASTERN PEANUT
ASSOCIATION,
     Defendant.
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 UNITED STATES OF AMERICA,
      Plaintiff,

                        v.                            Civil Action No. 75-28-COL

 TOM’S FOODS LTD.,
      Defendant.



          MOTION OF THE UNITED STATES TO ADMINISTRATIVELY
       CONSOLIDATE AND TERMINATE LEGACY ANTITRUST JUDGMENTS

       The United States moves to administratively consolidate the four above-captioned

antitrust cases, and to terminate the judgments in each of these cases pursuant to Rule 60(b) of

the Federal Rules of Civil Procedure. As explained in the accompanying Memorandum in

Support of the Motion of the United States to Terminate Legacy Antitrust Judgments, the United

States has concluded that because of their age and changed circumstances since their entry, these

decades-old judgments no longer serve to protect competition. The United States gave the public

notice and the opportunity to comment on its intent to seek termination of the judgments in the

above-captioned cases; it received no comments opposing termination. For these and other

reasons explained in the accompanying memorandum, the United States requests that these

judgments be terminated.




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                                    Respectfully submitted,

Dated: April 23, 2019                   /s/ Barry L. Creech
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